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UNITED STATES DISTRICT COURT
MlDDLE DlSTRlCT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA

V_ CASE No. 8:18-cr-460-T-()2AEP
JOSEPH DAVID CALTAGIRONE

PLEA AGREEM]ENT

Pursuant to Fed. R. Crim. P. ll(c), the United States of America, by
Maria Chapa Lopez, United States Attorney for the Middle District of
Florida, and the defendant, Joseph David Caltagirone, and the attorney for

the defendant, Tamara E. Theiss, mutually agree as folloWs:

A. Particularized Terms

l. Count Pleading To

The defendant shall enter a plea of guilty to Count One of the
Information. Count One charges the defendant With possession of an
unregistered destructive device, in Violation of 26 U.S.C. § 586l(d).

2. MaXimum Penalties

Count One carries a maximum sentence of lO years’
imprisonment, a fine of $250,000, a term of Supervised release of not more
than 3 years, and a special assessment of $lOO per felony count. With respect

to certain offenses, the Court shall order the defendant to make restitution to

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any Victim of the offense, and with respect to other offenses, the Court may
order the defendant to make restitution to any Victim of the offense, or to the
community, as set forth below.

3. Elements of the Offense

The defendant acknowledges understanding the nature and
elements of the offense with which defendant has been charged and to which

defendant is pleading guilty. The elements of Count One are:

First: the defendant possessed a firearm, as defined in 26 U.S.C.
§ 5845;
Second: the firearm was not registered to the defendant in the

National Firearms Registration and Transfer Record; and
Third: the defendant knew of the specific.characteristics or
features of the flrearm that made it subject to registration
under the National Firearms Registration and Transfer
Record.
4. lndictment Waiyer
Defendant will waive the right to be charged by way of
indictment before a federal grand jury.
5. No Further Charges
If the Court accepts this plea agreement, the United States

Attorney's Office for the Middle District of Florida agrees not to charge

defendant with committing any other federal criminal offenses known to the

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United States Attorney’s Office at the time of the execution of this agreement,
related to the conduct giving rise to this plea agreement
6. Guidelines Sentence
Pursuant to Fed. R. Crim. P. ll(c)(l)(B), the United States will
recommend to the Court that the defendant be sentenced within the
defendant’s applicable guidelines range as determined by the Court pursuant
to the United States Sentencing Guidelines, as adjusted by any departure the
United States has agreed to recommend in this plea agreement The parties
understand that such a recommendation is not binding on the Court and that,
if it is not accepted by this Court, neither the United States nor the defendant
will be allowed to withdraw from the plea agreement, and the defendant will
not be allowed to withdraw from the plea of guilty.
7. Sentencing Factor Recommendation - §2K2. l(b )( 3 )(A).
Pursuant to Fed. R. Crim. P. ll(c)(l)(B), the United States will
recommend to the Court that the defendants offense level not be enhanced
under the specific-offense characteristic detailed in U.S.S.G. §2K2. l(b)(Sj(A).
The defendant understands that this recommendation or request is not
binding on the Court, and if not accepted by the Court, the defendant will not

be allowed to withdraw from the plea.

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8. Accentance of Resnonsibilitv - Three Levels

At the time of sentencing, and in the event that no adverse
information is received suggesting such a recommendation to be unwarranted,
the United States will not oppose the defendant’s request to the Court that the
defendant receive a two-level downward adjustment for acceptance of
responsibility, pursuant to USSG §3El . l(a). The defendant understands that
this recommendation or request is not binding on the Court, and if not
accepted by the Court, the defendant will not be allowed to withdraw from the
plea.

Further, at the time of sentencing, if the defendant's offense level
prior to operation of subsection (a) is level 16 or greater, and if the defendant
complies with the provisions of USSG §3El . l(b) and all terms of this Plea
Agreement, including but not limited to, the timely submission of the financial
affidavit referenced in Paragraph B.S., the United States agrees to file a motion
pursuant to USSG §3El . l(b) for a downward adjustment of one additional
level. The defendant understands that the determination as to whether the
defendant has qualified for a downward adjustment of a third level for
acceptance of responsibility rests solely with the United States Attorney for the

l\/liddle District of Florida, and the defendant agrees that the defendant cannot

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and will not challenge that determination, whether by appeal, collateral attack,
or otherwise.

9. Cooperation - Substantial Assistance to be Considered

Defendant agrees to cooperate fully with the United States in the

investigation and prosecution of other persons, and to testify, subject to a
prosecution for perjury or making a false statement, fully and truthfully before
any federal court proceeding or federal grand jury in connection with the
charges in this case and other matters, such cooperation to further include a
full and complete disclosure of all relevant information, including production
of any and all books, papers, documents, and other objects in defendant's
possession or control, and to be reasonably available for interviews which the
United States may require. lf the cooperation is completed prior to
sentencing, the government agrees to consider whether such cooperation
qualifies as "substantial assistance" in accordance with the policy of the United
States Attorney for the Middle District of Florida, warranting the filing of a
motion at the time of sentencing recommending (l) a downward departure
from the applicable guideline range pursuant to USSG §SKl . l, or (2) the
imposition of a sentence below a statutory minimum, if any, pursuant to 18
U.S.C. § 355 3(e), or (3) both. If the cooperation is completed subsequent to

sentencing, the government agrees to consider whether such cooperation

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qualifies as "substantial assistance" in accordance with the policy of the United
States Attorney for the l\/liddle District of Florida, warranting the filing of a
motion for a reduction of sentence within one year of the imposition of
sentence pursuant to Fed. R. Crim. P. 35(b). In any case, the defendant
understands that the determination as to whether "substantial assistance" has
been provided or what type of motion related thereto will be filed, if any, rests
solely with the United States Attorney for the Middle District of Florida, and
the defendant agrees that defendant cannot and will not challenge that
determination, whether by appeal, collateral attack, or otherwise
lO. Use of lnformation - Section lBl.S
Pursuant to USSG §lBl .S(a), the United States agrees that no
self-incriminating information which the defendant may provide during the
course of defendants cooperation and pursuant to this agreement shall be used
in determining the applicable sentencing guideline range, subject to the
restrictions and limitations set forth in USSG §lBl .S(b).
ll. Cooperation - Resnonsibilities of Parties
a. T he government will make known to the Court and other
relevant authorities the nature and extent of defendants cooperation and any
other mitigating circumstances indicative of the defendant's rehabilitative

intent by assuming the fundamental civic duty of reporting crime. However,

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the defendant understands that the government can make no representation
that the Court will impose a lesser sentence solely on account of, or in
consideration of, such cooperation.

b. lt is understood that should the defendant knowingly
provide incomplete or untruthful testimony, statements, or information
pursuant to this agreement, or should the defendant falsely implicate or
incriminate any person, or should the defendant fail to voluntarily and
unreservedly disclose and provide full, complete, truthful, and honest
knowledge, information, and cooperation regarding any of the matters noted
herein, the following conditions shall apply:

(l) The defendant may be prosecuted for any perjury or
false declarations, if any, committed while testifying pursuant to this
agreement, or for obstruction of justice

(2) The United States may prosecute the defendant for
the charges which are to be dismissed pursuant to this agreement, if any, and
may either seek reinstatement of or refile such charges and prosecute the
defendant thereon in the event such charges have been dismissed pursuant to
this agreement With regard to such charges, if any, which have been
dismissed, the defendant, being fully aware of the nature of all such charges

now pending in the instant case, and being further aware of defendant's rights,

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as to all felony charges pending in such cases (those offenses punishable by
imprisonment for a term of over one year), to not be held to answer to said
felony charges unless on a presentment or indictment of a grand jury, and
further being aware that all such felony charges in the instant case have
heretofore properly been returned by the indictment of a grand jury, does
hereby agree to reinstatement of such charges by recision of any order
dismissing them or, alternatively, does hereby waive, in open court,
prosecution by indictment and consents that the United States may proceed by
information instead of by indictment with regard to any felony charges which
may be dismissed in the instant case, pursuant to this plea agreement, and the
defendant further agrees to waive the statute of limitations and any speedy
trial claims on such charges.

(3) T he United States may prosecute the defendant for
any offenses set forth herein, if any, the prosecution of which in accordance
with this agreement, the United States agrees to forego, and the defendant
agrees to waive the statute of limitations and any speedy trial claims as to any
such offenses

(4) T he government may use against the defendant the

defendant's own admissions and statements and the information and books,

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papers, documents, and objects that the defendant has furnished in the course
of the defendant's cooperation with the‘ government

(5) T he defendant will not be permitted to withdraw the
guilty pleas to those counts to which defendant hereby agrees to plead in the
instant case but, in that event, defendant will be entitled to the sentencing
limitations, if any, set forth in this plea agreement, with regard to those counts
to which the defendant has pled; or in the alternative, at the option of the
United States, the United States may move the Court to declare this entire
plea agreement null and void.

12. Forfeiture of Assets

The defendant agrees to forfeit to the United States immediately
and voluntarily any and all assets and property, or portions thereof, subject to
forfeiture, pursuant to 26 U.S.C. § 5872, 28 U.S.C. § 246l(c) and 49 U.S.C.

§ 80303 whether in the possession or control of the United States, the
defendant or defendant's nominees.

The defendant agrees and consents to the forfeiture of these
assets pursuant to any federal criminal, civil judicial or administrative
forfeiture action. The defendant also agrees to waive all constitutional,
statutory and procedural challenges (including direct appeal, habeas corpus, or

any other means) to any forfeiture carried out in accordance with this Plea

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Agreement on any grounds, including that the forfeiture described herein
constitutes an excessive fine, was not properly noticed in the charging
instrument, addressed by the Court at the time of the guilty plea, announced at
sentencing, or incorporated into the judgment

lf the United States seeks the forfeiture of specific assets pursuant
to Rule 32.2(b)(4), the defendant agrees that the preliminary order of forfeiture
will satisfy the notice requirement and will be final as to the defendant at the
time it is entered ln the event the forfeiture is omitted from the judgment, the
defendant agrees that the forfeiture order may be incorporated into the written
judgment at any time pursuant to Rule 36.

The defendant agrees to take all steps necessary to identify and
locate all property subject to forfeiture and to transfer custody of such property
to the United States before the defendant's sentencing To that end, the
defendant agrees to make a full and complete disclosure of all assets over
which defendant exercises control directly or indirectly, including all assets
held by nominees, to execute any documents requested by the United States to
obtain from any other parties by lawful means any records of assets owned by
the defendant, and to consent to the release of the defendant’s tax returns for
the previous five years. The defendant further agrees to be interviewed by the

government, prior to and after sentencing, regarding such assets and their

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connection to criminal conduct. The defendant further agrees to be
polygraphed on the issue of assets, if it is deemed necessary by the United
States. The defendant agrees that Federal Rule of Criminal Procedure ll and
USSG § lBl.S will not protect from forfeiture assets disclosed by the
defendant as part of the defendant’s cooperation.

The defendant agrees to take all steps necessary to assist the
government in obtaining clear title to the forfeitable assets before the
defendant’s sentencing In addition to providing full and complete
information about forfeitable assets, these steps include, but are not limited to,
the surrender of title, the signing of a consent decree of forfeiture, and signing
of any other documents necessary to effectuate such transfers

Forfeiture of the defendant's assets shall not be treated as
satisfaction of any fine, restitution, cost of imprisonment, or any other penalty
the Court may impose upon the defendant in addition to forfeiture

The defendant agrees that, in the event the Court determines that
the defendant has breached this section of the Plea Agreement, the defendant
may be found ineligible for a reduction in the Guidelines calculation for
acceptance of responsibility and substantial assistance, and may be eligible for

an obstruction of justice enhancement

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The defendant agrees that the forfeiture provisions of this plea
agreement are intended to, and will, survive the defendant notwithstanding
the abatement of any underlying criminal conviction after the execution of this
agreement The forfeitability of any particular property pursuant to this
agreement shall be determined as if the defendant had survived, and that
determination shall be binding upon defendant’s heirs, successors and assigns
until the agreed forfeiture, including any agreed forfeiture amount, is collected
in full.

13. Abandonment of Propeny - Firearms and Ammunition

T he United States of America and defendant hereby agree that
any firearms and/ or destructive devices as defined in 18 U.S.C. § 921 or 26
U.S.C. § 5 845(a), seized from defendant and currently in the custody or
control of the Bureau of Alcohol, Tobacco, Firearms and Explosives, were
properly seized and are subject to forfeiture to the government according to 18
U.S.C. § 924(d) and/ or 26 U.S.C. § 5872, and that the firearms and/ or
destructive devices constitute evidence, contraband, or fruits of the crime to
which he has pleaded guilty. As such, defendant hereby relinquishes all claim,
title and interest he has in the firearms and/ or destructive devices to the
United States of America with the understanding and consent that the Court,

upon approval of this agreement hereby directs the Bureau of Alcohol,

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Tobacco, Firearms and Explosives, or other appropriate agency, to cause the
firearms and/ or destructive devices described above to be destroyed forthwith
without further obligation or duty whatsoever owing to defendant or any other
person.

As part of the plea agreement in this case, defendant in this case
hereby states under penalty of perjury that he is the sole and rightful owner of
the property, and that defendant hereby voluntarily abandons all right and
claim to one pipe bomb constructed with PVC piping, 1 1/2 x 5 inch PVC pipe
with wire and tannerite, a Green hobby fuse, a container with dark material
labeled “BP W/ l\/lilled KNO?),” a container with white powder labeled
“KNOB,” a box containing different improvised, explosive-device components
(including a piece of PVC pipe with a plugged end, a hobby fuse, and
precursor chemicals labeled as 3 lbs. potassium nitrate, 1 lb. airfloat charcoal,
and 1 lb. sulfur,) 8 shot ring caps for cap gun, and rocket fins.

The defendant also voluntarily abandons all right and claim to: a
Winchester 12 shotgun (SN:1583081), a Remington Arms Company, lnc.
shotgun (SN:25703), a Fabrica DE Armas S.E.A.M rifle (SN:2G-4863), a
Winchester 12 shotgun (SN:1661383), a Winchester 94 rifle (SN:3623833), a
Remington Arms Company, Inc. ll shotgun (SN:330788), a Ruger 10/ 22 rifle

(SN:112~73608), an lnland l\/lanufacturing, LLC Ml 1944 rifle (SN:791597), a

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Winchester 190 rifle (SN:R201348), a Winchester rifle (SN:182057), a
Remington Arms Company lnc. 552 rifle (SN:237580), a Smith & Wesson
M&P 9 Shield pistol (SN:HMF5146), a Smith & Wesson 19 revolver
(SN:69KO597), a Smith & Wesson 17 revolver (SN:18K8356), a High
Standard Double Nine revolver (SN:M020918), a Firearms lnternational
Corp. Western Duo firearm, a Ruger Security Six revolver (SN:151~73316), a
Colt Diamondback revolver (SN:R22275), a Colt Police Positive revolver
(SN:54731l\/1), and 87 rounds of assorted ammunition
B. Standard Terms and Conditions

1. Restitution. Special Assessment and Fine

The defendant understands and agrees that the Court, in addition

to or in lieu of any other penalty, M order the defendant to make restitution
to any victim of the offense, pursuant to 18 U.S.C. § 3663A, for all offenses
described in 18 U.S.C. § 3663A(c)(1); and the Court may order the defendant
to make restitution to any victim of the offense, pursuant to 18 U.S.C. § 3663,
including restitution as to all counts charged, whether or not the defendant
enters a plea of guilty to such counts, and whether or not such counts are
dismissed pursuant to this agreement The defendant further understands that
compliance with any restitution payment plan imposed by the Court in no

way precludes the United States from simultaneously pursuing other statutory

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remedies for collecting restitution (28 U.S.C. § 3003(b)(2)), including, but not
limited to, garnishment and execution, pursuant to the Mandatory Victims
Restitution Act, in order to ensure that the defendant’s restitution obligation is
satisfied
On each count to which a plea of guilty is entered, the Court
shall impose a special assessment pursuant to 18 U.S.C. § 3013. The special
assessment is due on the date of sentencing
T he defendant understands that this agreement imposes no
limitation as to fme. .
2. Supervised Release
The defendant understands that the offense to which the
defendant is pleading provides for imposition of a term of supervised release
upon release from imprisonment, and that, if the defendant should violate the
conditions of release, the defendant would be subject to a further term of
imprisonment
3. Immigration Conseguences of Pleading Guilty
The defendant has been advised and understands that, upon
conviction, a defendant who is not a United States citizen may be removed
from the United States, denied citizenship, and denied admission to the

United States in the future.

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4. Sentencing Information
The United States reserves its right and obligation to report to the
Court and the United States Probation Office all information concerning the
background, character, and conduct of the defendant, to provide relevant
factual information, including the totality of the defendant's criminal activities,
if any, not limited to the count to which defendant pleads, to respond to
comments made by the defendant or defendant's counsel, and to correct any
misstatements or inaccuracies The United States further reserves its right to
make any recommendations it deems appropriate regarding the disposition of
this case, subject to any limitations set forth herein, if any.
5 . Financial Disclosures
Pursuant to 18 U.S.C. § 3664(d)(3) and Fed. R. Crim. P.
32(d)(2)(A)(ii), the defendant agrees to complete and submit to the United
States Attorney's Office within 30 days of execution of this agreement an
affidavit reflecting the defendant's financial condition. T he defendant
promises that his financial statement and disclosures Will be complete,
accurate and truthful and will include all assets in which he has any interest or
over Which the defendant exercises control, directly or indirectly, including
those held by a spouse, dependent, nominee or other third party. The

defendant further agrees to execute any documents requested by the United

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States needed to obtain from any third parties any records of assets owned by
the defendant, directly or through a nominee, and, by the execution of this
Plea Agreement, consents to the release of the defendant's tax returns for the
previous five years. The defendant similarly agrees and authorizes the United
States Attorney's Office to provide to, and obtain from, the United States
Probation Office, the financial affidavit, any of the defendant's federal, state,
and local tax returns, bank records and any other financial information
concerning the defendant, for the purpose of making any recommendations to
the Court and for collecting any assessments, fines, restitution, or forfeiture
ordered by the Court. T he defendant expressly authorizes the United States
Attorney's Office to obtain current credit reports in order to evaluate the
defendant's ability to satisfy any financial obligation imposed by the Court.
6. Sentencing Recommendations

lt is understood by the parties that the Court is neither a party to
nor bound by this agreement T he Court may accept or reject the agreement,
or defer a decision until it has had an opportunity to consider the presentence
report prepared by the United States Probation Office. The defendant
understands and acknowledges that, although the parties are permitted to
make recommendations and present arguments to the Court, the sentence will

be determined solely by the Court, with the assistance of the United States

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Probation Office. Defendant further understands and acknowledges that any
discussions between defendant or defendant's attorney and the attorney or
other agents for the government regarding any recommendations by the
government are not binding on the Court and that, should any
recommendations be rejected, defendant will not be permitted to withdraw
defendant's plea pursuant to this plea agreement The government expressly
reserves the right to support and defend any decision that the Court may make
with regard to the defendant's sentence, whether or not such decision is
consistent with the government's recommendations contained herein.

7. Defendant's Waiver of Right to Appeal the Sentence

The defendant agrees that this Court has jurisdiction and

authority to impose any sentence up to the statutory maximum and expressly
waives the right to appeal defendant's sentence on any ground, including the
ground that the Court erred in determining the applicable guidelines range
pursuant to the United States Sentencing Guidelines, except (a) the ground
that the sentence exceeds the defendant's applicable guidelines range §
determined by the Court pursuant to the United States Sentencing Guidelines;
(b) the ground that the sentence exceeds the statutory maximum penalty; or (c)
the ground that the sentence violates the Eighth Amendment to the

Constitution; provided, however, that if the government exercises its right to

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appeal the sentence imposed, as authorized by 18 U.S.C. § 3742(b), then the
defendant is released from his waiver and may appeal the sentence as
authorized by 18 U.S.C. § 3742(a).
8. Middle District of Florida Agreement
lt is further understood that this agreement is limited to the
Office of the United States Attorney for the l\/liddle District of Florida and
cannot bind other federal, state, or local prosecuting authorities, although this
office will bring defendant's cooperation, if any, to the attention of other
prosecuting officers or others, if requested
9. Filing of Agreement
This agreement shall be presented to the Court, in open court or
in camera, in whole or in part, upon a showing of good cause, and filed in this
cause, at the time of defendant's entry of a plea of guilty pursuant hereto.
10. Voluntariness
The defendant acknowledges that defendant is entering into this
agreement and is pleading guilty freely and voluntarily without reliance upon
any discussions between the attorney for the government and the defendant
and defendant's attorney and without promise of benefit of any kind (other
than the concessions contained herein), and without threats, force,

intimidation, or coercion of any kind. The defendant further acknowledges

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defendant's understanding of the nature of the offense or offenses to which
defendant is pleading guilty and the elements thereof, including the penalties
provided by law, and defendant's complete satisfaction with the representation
and advice received from defendant's undersigned counsel (if any). The
defendant also understands that defendant has the right to plead not guilty or
to persist in that plea if it has already been made, and that defendant has the
right to be tried by a jury with the assistance of counsel, the right to confront
and cross-examine the witnesses against defendant, the right against
compulsory self-incrimination, and the right to compulsory process for the
attendance of witnesses to testify in defendant's defense; but, by pleading
guilty, defendant waives or gives up those rights and there will be no trial.

T he defendant further understands that if defendant pleads guilty, the Court
may ask defendant questions about the offense or offenses to which defendant
pleaded, and if defendant answers those questions under oath, on the record,
and in the presence of counsel (if any), defendant's answers may later be used
against defendant in a prosecution for perjury or false statement T he
defendant also understands that defendant will be adjudicated guilty of the
offenses to which defendant has pleaded and, if any of such offenses are
felonies, may thereby be deprived of certain rights, such as the right to vote, to

hold public office, to serve on a jury, or to have possession of firearms

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ll. Factual Basis
Defendant is pleading guilty because defendant is in fact guilty.
T he defendant certifies that defendant does hereby admit that the facts set
forth below are true, and were this case to go to trial, the United States Would
be able to prove those specific facts and others beyond a reasonable doubt.
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On April ll, 2018, Tampa Police Department (“TPD”) Bomb Squad
Officers were training at a facility on North 12th Street, Tampa, Florida. At
approximately 4120 p.m., they heard a loud explosion Members of the TPD
Bomb Squad left the building where they were training and saw a greyish-
white smoke plume traveling from north to south above a backyard located
near the corner of North 12th Street and East Columbus Drive, Tampa, Florida
336()5, in the l\/liddle District of Florida. T his location is in a densely
populated, residential neighborhood where homes sit in close proximity to
each other. When TPD bomb squad officers entered the backyard of that
address, they smelled what they recognized to be burnt powder, saw a blast
crater, and found a PVC~pipe end cap on the ground in the northeast portion
of the yard near a fence.

TPD ()fflcers then canvassed the neighborhood One resident stated

that she had seen her neighbors “Joseph” and “David” running into a nearby

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house. Police arrived at that house_later identified as Caltagirone’s
residence-and encountered the defendant, Joseph David Caltagirone, and his
associate, M.D.R. Caltagirone stated that he and M.D.R. had been making
rockets and had set off a rocket, Which exploded. `

TPD bomb technicians searched Caltagirone’s house. During their
search, law-enforcement officers saw several containers that contained
powdery substances They discovered a large container with white powder
inside, labeled as “KNOS.” KNO?> is the chemical formula for potassium
nitrate. T hey also saw a container with a dark material inside, labeled as “BP
W/ Milled KNOS.” Officers found a box containing various components,
including: a piece of PVC pipe with a plugged end; a hobby fuse; and
precursor chemicals labeled as 3 lbs. potassium nitrate, l lb. airfloat charcoal,
and l lb. sulfur. Potassium nitrate, charcoal, and sulfur are precursor
chemicals utilized in the manufacturing of homemade black powder.

Law-enforcement officers also discovered a red solo cup on the floor
next to the above-mentioned chemicals and containers. lnside the red solo
cup, officers found a white polyvinyl chloride (PVC) pipe with end caps on
each side. The pipe Was arranged vertically inside the cup. An x-ray of the cup
and PVC pipe revealed powder inside the pipe. Law-enforcement officers also

searched the upstairs of the residence There, they discovered Tannerite.

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Tannerite is a binary exploding target material consisting of ammonium
nitrate and aluminum powder.

TPD officers then took Caltagirone to the Tampa Police Department.
Caltagirone waived his Mz'randa rights and made several statements
Caltagirone stated that he had constructed two devices: a rocket/ missile
device that had exploded in the backyard and the device discovered inside a
red solo cup. Regarding the rocket/ missile device, he stated that he had used a
one-inch-by-six-inch piece of schedule 40 PVC pipe. He put clay in one end of
the pipe and then glued a PVC end cap over that end. He drilled the PVC end
cap and inserted a piece of fuse in order to ignite the rocket. He filled the pipe
approximately three quarters full with potassium nitrate, charcoal, and sulfur.
He crumpled up a piece of aluminum foil and stuffed it into the pipe to
separate the filler from the second end cap, which he had glued on the end of
the pipe. He then attached a guide rod to the side of the pipe by gluing a
syringe to the side of the pipe to hold the guide rod. When he lit the fuse, the
rocket exploded and never traveled vertically.

A Destructive Device Determination conducted by the Bureau of
Alcohol, Tobacco, Firearms and Explosives concluded that the rocket/ missile
device, a rocket motor, Was constructed using a length of PVC pipe, which

Was sealed at one end With a PVC end cap and contained a quantity of

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explosive powder identified through laboratory analysis as a nitrate explosive
mixture. T he other end had been plugged With clay and an improvised venturi.
T he end cap had been sealed to the pipe using a PVC-based adhesive
According to the report, the absence of any electrical or mechanical firing
system, taken with statements made by the device maker, indicate that a
length of burning-type fuse was used to initiate the explosive powder. Lighting
the fuse of the rocket motor, after a delay, had ignited the explosive powder,
causing the device to explode. This explosion projected PVC fragments at high
velocities in all directions

The second device that Caltagirone had designed and constructed,
found inside a red solo cup, was a destructive device. The device had been
constructed using a length of PVC pipe that was sealed at each end with PVC
end caps. The ends had been secured in place With a PVC-based adhesive. The
pipe contained an explosive mixture identified through laboratory analysis as
a mixture of prilled ammonium nitrate and aluminum, commonly known as
Tannerite. Gne of the end caps was modified by having a hole drilled through
its center face. An improvised initiator had been constructed using two lengths
of multi-strand Wire With a smaller diameter length of single-strand wire
connected between the exposed ends of the multi-strand Wire. The wire was

then placed into a length of plastic straw that contained a small quantity of an

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explosive mixture identified through laboratory analysis as a
chlorate/perchlorate explosive mixture The initiator had been passed through
the hole in the end cap and secured in place with an adhesive Applying
electrical current to the wires would have caused the bridge-wire to heat up
and ignite the explosive powder in the straW, causing an explosion. This
explosion could have caused the explosive mixture in the pipe (Tannerite) to
explode, which, in turn, would have projected PVC fragments at high
velocities in all directions

Caltagirone knowingly designed, constructed, and possessed at least
two, completed improvised devices_(l) the rocket motor that he and M.D..R
had detonated, Which Was not a destructive device under 26 U.S.C.
§ 5845(f)(3), and, (2) a device discovered in a red solo cup, Which was a
destructive device under 26 U.S.C. § 5 845(@(3). Caltagirone knew that the
device discovered in a red solo cup had been engineered to explode He
knowingly possessed combinations of parts designed and intended for use in
converting any device into a destructive device and from which a destructive
device could have been readily assembled Although no evidence has been
uncovered suggesting that Caltagirone specifically intended to harm anyone,
the device discovered inside a red solo cup in Caltagirone’s home, as designed,

did not have any legitimate social value or use other than as a weapon. The

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device was not registered to Caltagirone or to M.D.R. in the National
Firearms Registration and Transfer Record.
12. Entire Agreement
This plea agreement constitutes the entire agreement'between the
government and the defendant with respect to the aforementioned guilty plea
and no other promises, agreements, or representations exist or have been

made to the defendant or defendant's attorney with regard to such guilty plea.

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13. Certification
The defendant and defendant'S counsel certify that this plea
agreement has been read in its entirety by (or has been read to) the defendant

and that defendant fully understands its terms

DATEDthiS ZM day er M CMAC 2018.

 

 

 

 

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